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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT



DEBORA COBB                                 :
                                            :
v.                                          :     NO. 3:17-cv-01629-VLB
                                            :
ENHANCED RECOVERY COMPANY, LLC              :


                                   JUDGMENT


      This action having come before the Court on defendant’s motion for

summary judgment before the Honorable Vanessa L. Bryant, United States District

Judge; and

      The Court having considered the full record of the case including applicable

principles of law, and having issued a memorandum of decision granting

defendant’s motion; it is hereby

      ORDERED, ADJUDGED and DECREED that judgment be and is hereby

entered and this case is closed.

      Dated at Hartford, Connecticut, this 11th day of March, 2019.


                                            ROBIN D. TABORA, Clerk


                                            By /S/ Jeremy J. Shafer
                                                 Jeremy Shafer
                                                 Deputy Clerk



EOD: 03/11/2019
